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                                           Notice of Settlement

Case 3:17-cv-01565-RDM

Brogan v. ARS National Services, Inc.

Honorable Judge Mariani



                The parties have reached a settlement in this matter. However, Plaintiff is a debtor in a
bankruptcy case and the settlement is contingent upon the approval of the bankruptcy court. A Motion
seeking such approval has been filed and should be ripe for the bankruptcy court’s consideration. If the
approval is obtained, further action by the Court, including the status conference currently scheduled
for Jan 5, 2018 will not be required, and the parties will file a joint stipulation dismissing the action.



                                                 Respectfully Submitted,

                                                  /s/ Michael A. Hynum__
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